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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 X CORP.,                                        §
                                                 §
        Plaintiff,                               §
                                                 §
 v.                                              §   Civil Action No. 4:23-cv-01175-O
                                                 §
 MEDIA MATTERS FOR AMERICA,                      §
 ERIC HANANOKI, and ANGELO                       §
 CARUSONE,                                       §
                                                 §
        Defendants.


                                            ORDER

       Before the Court is Plaintiff’s Motion to Compel (ECF No. 83). To permit the Court to

expeditiously resolve this dispute, Defendants are directed to respond no later than September 6,

2024. Plaintiff shall reply no later than September 11, 2024.


       SO ORDERED on this 30th day of August, 2024.


                                                 _____________________________________
                                                 Reed O’Connor
                                                 UNITED STATES DISTRICT JUDGE




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